     Case 4:19-cv-07123-PJH       Document 558-1   Filed 02/24/25   Page 1 of 2




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16

17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION
20                                      )          Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
      META PLATFORMS, INC.,             )          DECLARATION OF MICAH G. BLOCK
22                                      )          IN SUPPORT OF PLANTIFFS’ MOTION
                                        )          FOR PERMANENT INJUNCTION
23                    Plaintiffs,       )
                                        )
24           v.                         )
25                                      )
      NSO GROUP TECHNOLOGIES LIMITED )
26    and Q CYBER TECHNOLOGIES LIMITED, )
                                        )
27                    Defendants.       )
                                        )
28
      Case 4:19-cv-07123-PJH              Document 558-1         Filed 02/24/25      Page 2 of 2




 1   I, Micah G. Block, declare as follows:

 2              1.     I am a partner with the law firm of Davis Polk & Wardwell LLP and admitted to

 3   practice before this Court. I am counsel for Plaintiffs WhatsApp LLC and Meta Platforms, Inc. in

 4   the above-captioned matter. I have personal knowledge of the facts set forth below and, if called as

 5   a witness in a court of law, could and would testify competently thereto.

 6              2.     Attached hereto as Exhibit A is a true and correct copy of a January 8, 2025 Substack

 7   post by Vas Panagiotopoulos titled, “NSO Group Owner: ‘We Will Appeal, Justice Was Not Served,”

 8   which is available at https://vaspanagiotopoulos.substack.com/p/nso-group-owner-we-will-appeal-
 9   justice.
10              3.     On January 22, 2025, the parties engaged in a settlement conference before Magistrate
11   Judge Sallie Kim. The discussion addressed Plaintiffs’ proposed injunctive relief, but the parties did
12   not reach an agreement. See Dkt. No. 542.
13              4.     On February 3, 2025, the parties met-and-conferred regarding Plaintiffs’ proposed
14   permanent injunction.
15              5.     On February 7, 2025, Plaintiffs’ counsel sent an email to NSO’s counsel containing
16   the elements of Plaintiffs’ proposed permanent injunction.
17              6.     On February 10, 2025, the parties met-and-conferred regarding Plaintiffs’ proposed
18   permanent injunction. The parties did not reach an agreement.

19              7.     On February 12, 2025, NSO’s counsel sent a response to Plaintiffs’ counsel that did

20   not agree to the relief Plaintiffs seek.

21              8.     On February 14, 2025, Plaintiffs responded to NSO’s February 12, 2025 email,

22   confirming Plaintiffs’ intention to file this motion.

23

24              I declare under the penalty of perjury that the foregoing is true and correct.

25              Executed this 24th day of February, 2025 in Redwood City, California.

26
                                                    By: /s/ Micah G. Block
27                                                      Micah G. Block
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                                                        1
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PERMANENT INJUNCTION - CASE NO.
     4:19-CV-07123-PJH
